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                          UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MASSACHUSETTS


ESTADOS UNIDOS MEXICANOS,                            )
                                                     )
       Plaintiff,                                    )
                                                     )
v.                                                   )   Civil Action No. 1:21-CV-11269-FDS
                                                     )
SMITH & WESSON BRANDS, INC., ET AL.,                 )
                                                     )
       Defendants.                                   )
                                                     )

                    DEFENDANT STURM, RUGER’S MOTION TO DISMISS
                    PLAINTIFF’S COMPLAINT PURSUANT TO FEDERAL
                          RULE OF CIVIL PROCEDURE 12(b)(2)

       Defendant Sturm, Ruger & Company, Inc. (“Ruger”) moves to dismiss Estados Unidos

Mexicanos (the “Mexican Government”)’s Complaint for lack of personal jurisdiction pursuant

to Federal Rule of Civil Procedure 12(b)(2) (the “Motion”). In a separately filed a joint motion,

Ruger has moved to dismiss the Mexican Government’s Complaint under Federal Rule of Civil

Procedure 12(b)(1) based on its lack of standing and under Federal Rule of Civil Procedure

12(b)(6) for failure to state a claim upon which relief can be granted.

        As set forth in detail in the accompanying Memorandum of Law, the Court should grant

the Motion because Plaintiff cannot meet its burden of demonstrating that specific personal

jurisdiction over Ruger is present here. The relationship between Ruger’s contacts with the

Commonwealth of Massachusetts and the Mexican Government’s claims against Ruger is far too

attenuated to subject Ruger to personal jurisdiction in this case.

       WHEREFORE, defendant Sturm, Ruger & Company, Inc. requests that the Court enter

judgment in its favor on all counts of Plaintiff’s Complaint.
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                                REQUEST FOR ORAL ARGUMENT

       Pursuant to Local Rule 7.1(d), Ruger hereby requests oral argument because it is likely to

assist the Court in resolving the Motion.


                                                    Respectfully submitted,

                                                    STURM, RUGER & CO., INC.,

                                                    By its attorneys,

                                                           /s/ Johnathan I. Handler
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                                                    and

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                                                    T: (312) 222-8517
Dated: November 22, 2021                            F: (312) 321-0990


                CERTIFICATION PURSUANT TO LOCAL RULE 7.1(A)(2)

       Pursuant to Local Rule 7.1(a)(2), I, Jonathan I. Handler, counsel for Defendant Sturm,
Ruger & Company, Inc. (“Ruger”), hereby certify that on November 18, 2021, co-counsel for
Ruger conferred with counsel for Plaintiff Estados Unidos Mexicanos in a good faith attempt to
resolve or narrow the issues raised by this motion.


                                                        /s/ Johnathan I. Handler
                                                 Jonathan I. Handler



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                                 CERTIFICATE OF SERVICE

        I, Jonathan I. Handler, hereby certify that this document(s) filed through the ECF system
will be sent electronically to the registered participants as identified on the Notice of Electronic
(NEF) and paper copies will be sent to those indicated as non-registered participants on
November 22, 2021.


                                                          /s/ Johnathan I. Handler
                                                   Jonathan I. Handler




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